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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 K.C., et al.,                    )
                                  )
      Plaintiffs,                 )
                                  )
             v.                   )                 No. 1:23-cv-00595-JPH-KMB
                                  )
 THE INDIVIDUAL MEMBERS OF THE )
 MEDICAL LICENSING BOARD, et al., )
                                  )
      Defendants.                 )

        Joint Motion to Further Adjourn Additional Case Management Deadlines

         The parties, by counsel, jointly state:

 1.      Pursuant to prior order of this Court (Dkts. 122, 124), the following deadlines have

 been set in this case:

             • Nonexpert discovery closes on June 3, 2024.

             • Statement of claims or defenses filed by June 10, 2024.

             • Plaintiffs serve expert disclosures by July 5, 2024.

             • Defendants serve expert disclosures by August 5, 2024.

             • Plaintiffs serve any rebuttal expert disclosures by August 26, 2024.

             • Parties serve final witness and exhibit lists by September 3, 2024.

             • Plaintiffs’ motion for summary judgment must be filed by September 3,
               2024.

             • Defendants’ motion for summary judgment and response to Plaintiffs’
               motion for summary judgment must be filed by October 3, 2024.
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           • Plaintiffs’ response to Defendants’ motion for summary judgment and
             reply in support of Plaintiffs’ motion for summary judgment must be filed
             by November 4, 2024.

           • All expert discovery completed by November 5, 2024.

           • Defendants’ reply in support of Defendants’ motion for summary
             judgment must be filed by November 25, 2024.

 2.     This case is set for trial on April 28, 2025, with a final pre-trial on April 15, 2025.

 (Dkt. 118).

 3.     On February 16, 2024, the United States Court of Appeals for the Seventh

 Circuit heard oral argument on defendants’ appeal of this Court’s preliminary

 injunction order. (Dkt. 67, 68).

 4.     Although the Court of Appeals has not yet issued an opinion in this case, the

 Court of Appeals, on February 27, 2024, sua sponte issued a stay of the preliminary

 injunction. The Court of Appeals declined to grant rehearing en banc.

 5.     The Court of Appeals’ forthcoming opinion may impact further proceedings

 in this case and may clarify the law concerning the plaintiffs’ legal claims.

 6.     The parties have discussed this matter and would like to adjourn the deadlines

 so that the parties may properly prepare for a trial and gather the appropriate

 evidence, including expert reports, as necessary after the decision is issued.

 7.     Additionally, the Supreme Court is currently considering whether to grant

 certiorari in the case of L.W. v. Skrmetti, No. 23-466 (2023), which has been rescheduled

 by the Court for its consideration six times. L.W. v. Skrmetti presents questions as to


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 whether a statute that prohibits gender-transition procedures for minors with gender

 dysphoria violates equal protection and due process. A companion case, United States

 v. Skrmetti, No. 23-477 (2023), raises an identical equal protection claim.

 8.     In order that the parties may conserve resources and properly prepare for trial,

 they request that the deadlines be extended as set out below, with the trial and

 pretrial dates left undisturbed.

           • Nonexpert discovery closes on August 2, 2024.

           • Statement of claims or defenses filed by August 9, 2024.

           • Plaintiffs serve expert disclosures by September 5, 2024.

           • Defendants serve expert disclosures by October 7, 2024.

           • Plaintiffs serve any rebuttal expert disclosures by October 28, 2024.

           • Parties serve final witness and exhibit lists by November 4, 2024.

           • Plaintiffs’ motion for summary judgment must be filed by November 4,
             2024.

           • Defendants’ motion for summary judgment and response to Plaintiffs’
             motion for summary judgment must be filed by December 3, 2024.

           • Plaintiffs’ response to Defendants’ motion for summary judgment and
             reply in support of Plaintiffs’ motion for summary judgment must be filed
             by January 6, 2025.

           • All expert discovery completed by January 6, 2025.

           • Defendants’ reply in support of Defendants’ motion for summary
             judgment must be filed by January 27, 2025.

        WHEREFORE, the parties request that the case management deadlines be

 adjusted as proposed above, and for all other proper relief.

                                              [3]
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